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AFFIDAVIT OF SERVICE

 

 

 

 

 

 

Case: Court: County: Job:

2:22-cv- | In the United States District Court for the Westem 7995792

1631 District of Pennsylvania

Plaintiff / Petitioner: Defendant / Respondent:

Michael Morgan and Liberty Risk Consulting, LLC Amy Noss, Keith Hickey, Joyce Morgan, Brittany Paduganan, and
ETBP Enterprises, LLC d/b/a Thrive Talent Management

Received by: For:

PA Virtual Services, LLC Phillips Group

 

To be served upon:
joyce Morgan

 

 

 

I, Julie Schneck, being duly sworn, depase and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/Address: Joyce Morgan, 2016 Barclay Hill Rd, Beaver, PA 15009
Manner of Service: Personal/Individual, Nov 23, 2022, 12:54 pm EST
Documents: Summons in a Civil Action; Complaint; Civil Cover Sheet and Part A

Additional Comments:
1) Successful Attempt: Nov 23, 2022, 12:54 pm EST at 2016 Barclay Hill Rd, Beaver, PA 15009 received by Joyce Morgan. Age: 35 +/-; Ethnicity:
Caucasian; Gender: Female; Weight: 135; Height: 5'6"; Hair: Brown; Other: Wearing glasses;

by befos Le. 11/28/2022

jul chneck a Date

PAVirtual Services, LLC
9 Christine Drive
Cheswick, PA 15024
4127219288
